           Case 1:21-cr-00026-CRC Document 47 Filed 03/01/22 Page 1 of 3




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,               :
                                        :
      v.                                :        No. 1:21cr-00026-CRC
                                        :
CHRISTOPHER ALBERTS,                    :
    Defendant.                          :


               CONSENT MOTION TO TEMPORARILY REMOVE
                 DEFENDANT’S GPS MONITORING DEVICE

      COMES NOW, Defendant, Christopher Alberts, by and through attorney

Allen H. Orenberg and hereby respectfully moves this Court for the entry of an

Order directing the United States Probation Office to temporarily remove the

defendant’s GPS monitoring device on March 8, 2022, from 8:00 a.m. until not later

than then end of the next business day, in order for him to receive proper medical

treatment.

      As grounds, the following is stated:

      1.       Mr. Alberts injured his left hand. As part of this ongoing course of

treatment, a MRI procedure is medically required and this type of procedure may

not be safely conducted when the GPS device is attached to the defendant.

      2.       It is counsel’s understanding the MRI procedure will occur on March 8,

2020, (1:00 p.m.) at Advanced Radiology, located at 9110 Philadelphia Avenue,

Suite 114, Baltimore, MD 21237. (Tel. No. 888-970-9700)




                                             1
           Case 1:21-cr-00026-CRC Document 47 Filed 03/01/22 Page 2 of 3




      4.       An MRI examination may not be performed while a person is wearing

a GPS monitoring device. Accordingly, the GPS monitoring device should be

removed, temporarily, by the United States Probation Office (per instructions by

USPO John Stagg – MDXDM) at or about 8:00 a.m. on March 8, 2021. After the

MRI procedure is completed, the defendant will promptly report to U.S. Probation

Office, no later than the end of the next business day for the re-installation of the

GPS monitoring device.

      5.       The Government (per AUSA Jordan Koeing) consents to Mr. Randolph

having his GPS ankle monitor removed for the sole purpose of the medically-

necessary MRI procedure at Advanced Radiology.

      6.       All other conditions of release remain in full force and effect.

      WHEREFORE, for the foregoing reasons and such other reasons that may

appear just and proper, defendant Christopher Alberts respectfully moves this

Court for the entry of an Order directing the United States Probation Office to

temporarily remove the defendant’s GPS monitoring device on March 8, 2022, from

8:00 a.m. until not later than then end of the next business day, in order for him to

receive proper medical treatment as described herein.




                                             2
       Case 1:21-cr-00026-CRC Document 47 Filed 03/01/22 Page 3 of 3




                                  Respectfully Submitted,




                                  ____________________________
                                  Allen Orenberg, # 395519
                                  The Orenberg Law Firm, P.C.
                                  12505 Park Potomac Avenue, 6 th Floor
                                  Potomac, Maryland 20854
                                  Tel. No. 301-984-8005
                                  Cell Phone No. 301-807-3847
                                  Fax No. 301-984-8008
                                  aorenberg@orenberglaw.com


Dated: March 1, 2022




                                     3
